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 5   scalequalaccess@yahoo.com
 6   Attorneys for Plaintiff
     KENNETH DAVIDSON
 7
 8                              UNITED STATES DISTRICT COURT
 9                             CENTRAL DISTRICT OF CALIFORNIA
10
     KENNETH DAVIDSON,                                 Case No.: 2:19-cv-10690 PA (SKx)
11
12                Plaintiff,
13         vs.                                         NOTICE OF VOLUNTARY
                                                       DISMISSAL OF ENTIRE ACTION
14                                                     WITHOUT PREJUDICE
     CALIXITO CALDERON D/B/A CASA
15   CALDERON; WILLIAM J. POULOS,
16   TRUSTEE OF WILLIAM J. POULOS
     TRUST,
17
18                Defendants.
19
20
           PLEASE TAKE NOTICE that KENNETH DAVIDSON
21
     (“Plaintiff”) pursuant to Federal Rule of Civil Procedure Rule 41(a)(1) hereby
22
     voluntarily dismisses the entire action without prejudice pursuant to Federal Rule of Civil
23
     Procedure Rule 41(a)(1) which provides in relevant part:
24
           (a) Voluntary Dismissal.
25
                  (1)    Without a Court Order. Subject to Rules 23(e), 23.1(c), 23.2, and 66
26
                         and any applicable federal statute, the plaintiff may dismiss an action
27
28                       without a court order by filing:


                                                   1
        NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION WITHOUT PREJUDICE
     Case 2:19-cv-10690-PA-SK Document 26 Filed 07/28/20 Page 2 of 2 Page ID #:85




 1                      (i)   A notice of dismissal before the opposing party serves either an
 2                            answer or a motion for summary judgment.
 3   None of the Defendants has either answered Plaintiff’s Complaint, or filed a motion for
 4   summary judgment. Accordingly, this matter may be dismissed without an Order of the
 5
     Court.
 6
 7   DATED: July 28, 2020           SO. CAL. EQUAL ACCESS GROUP
 8
 9                                  By:      /s/ Jason J. Kim
10                                        Jason J. Kim, Esq.
                                          Attorneys for Plaintiff
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       NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION WITHOUT PREJUDICE
